                 UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION

IN RE:                         §
                               §
BENJAMIN JOE GIRON and         §
5401 MONTOYA DR EL PASO TEXAS, §            CASE NO. 20-31151-hcm
LLC,                           §                 Chapter 13
                               §
      DEBTOR,                  §
                               §
EL PASO NATIONAL MORTGAGE,     §
LLC,                           §
                               §
      MOVANT,                  §
                               §
vs.                            §
                               §
BENJAMIN JOE GIRON and         §
5401 MONTOYA DR EL PASO TEXAS, §
LLC,                           §
                               §
      RESPONDENTS.             §

                          ORDER GRANTING
                 EL PASO NATIONAL MORTGAGE, LLC’S
 AMENDED MOTION FOR RELIEF FROM THE AUTOMATIC STAY REGARDING
REAL ESTATE, 5401 MONTOYA DRIVE AND, ALTERNATIVELY, FOR ADEQUATE
                            PROTECTION




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            On this day, the Court considered El Paso National Mortgage, LLC’s Amended Motion for

Relief from the Automatic Stay Regarding Real Estate, 5401 Montoya Drive and, Alternatively,

for Adequate Protection, with Waiver of 30-Day Hearing and Request for El Paso Setting. The

Court finds that it has jurisdiction of the subject matter and the parties and that cause exists to grant

relief from the automatic stay of 11 U.S.C. § 362.

            IT IS, THEREFORE, ORDERED that El Paso National Mortgage, LLC is hereby

granted relief from automatic stay of 11 U.S.C. § 362 to exercise its state law remedies, including

but not limited to foreclosure, against El Paso National Mortgage LLC’s residential real property

collateral situated at 5401 Montoya Drive, El Paso, Texas, and against El Paso National Mortgage,

LLC’s borrower, 5401 Montoya Dr El Paso Texas LLC.

            IT IS FURTHER ORDERED that Debtor and 5401 Montoya Dr El Paso Texas LLC,

jointly and severally, shall pay attorney’s fees to El Paso National Mortgage, LLC in the amount

of $1,500.00.

            IT IS FURTHER ORDERED that this Order shall be effective for a period of six (6)

months from the date of entry of this Order whether or not this case is converted or dismissed, and

whether or not Debtor or the Borrower may file a another bankruptcy case or bankruptcy petition

under any chapter of the United States Bankruptcy Code during the said six (6) month period.

            IT IS FURTHER ORDERED that the 14-day post-entry stay of Bankruptcy Rule

4001(a)(3) is hereby vacated.




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Submitted By:

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